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   Nevada Bar No. 5995
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 4
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 6 Attorneys for Defendant 7505 Java Sparrow Trust
 7
                                UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF NEVADA
 9   NATIONSTAR MORTGAGE, LLC,                           Case No.: 2:15-cv-00196-APG-EJY
10                Plaintiff,
11
     vs.
12                                                      SUBSTITUTION OF COUNSEL FOR
     CLUB ALIANTE HOMEOWNERS'                           7505 JAVA SPARROW TRUST
13
     ASSOCIATION; JAVA SPARROW TRUST;
14   7505 JAVA SPARROW TRUST; NEVADA
     ASSOCIATION SERVICES, INC.,
15
                  Defendants.
16

17

18          Jacob Lefkowitz, in his capacity as authorized representative of 7505 Java Sparrow Trust,

19   hereby consents to the substitution of Hong & Hong Law Office, as its counsel in place and stead

20   of Ayon Law, PLLC in the above captioned matter.

21
            DATED this 12th day of October, 2020.
22

23
                                                         sl Jacob Lefkowitz
24                                                       Jacob Lefkowitz
                                                         7505 Java Sparrow Trust
25
26

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            Case 2:15-cv-00196-APG-EJY Document 86 Filed 10/16/20 Page 2 of 2




            Luis A. Ayon, Esq. of Ayon Law, PLLC, does hereby consent to the substitution of Hong
 2   & Hong Law Office, in the above entitled matter, in his place and stead as attorney of record for
 3 Defendant 7505 Java Sparrow Trust.
 4
            DATED this 12th day of October, 2020.
 5
                                                          AYON LAW, PLLC
 6
                                                          By Isl Luis A. Ayon
 7                                                           LUIS A. AYON, ESQ.
 8
                                                             Nevada Bar No. 9752
                                                             8716 Spanish Ridge, Suite 115
 9                                                           Las Vegas, NV 89148
                                                             T: 702-600-3200
10
11          Joseph Y. Hong, Esq., of Hong & Hong Law Office, does hereby agree to substitute in the
12 place of Ayon Law, PLLC, in the above entitled matter, in his place and stead as attorney of
13   record for Defendant 7505 Java Sparrow Trust.
14
            DATED this \L� day of     Od-ober. l.J;)� •
15
                                                          HONG & HONG LAW OFFICE
16
                                                          By s/ Joseph Y. Hong
17
                                                             JOSEPH Y. HONG, ESQ.
18                                                           Nevada Bar No. 5995
                                                             One Summerlin
19                                                           1980 Festival Plaza Dr., Suite 650
20                                                           Las Vegas, Nevada 89135
                                                             Tel: (702) 870-1777
21
22                                               ORDER
23          IT IS SO ORDERED.
24
25                                          UNITED STATES MAGISTRATE JUDGE
26

27                                                  October 16, 2020
                                            DATED: ____________      _
28
                                                     2
